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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                                9:21-cv-81963
                                     Case No. ________________

   PREPARED FOOD PHOTOS, INC. f/k/a
   ADLIFE MARKETING &
   COMMUNICATIONS CO., INC.,

          Plaintiff,

   v.

   SHADOWBROOK FARM LLC,

          Defendant.


                                             COMPLAINT

         Plaintiff Prepared Food Photos, Inc. f/k/a Adlife Marketing & Communications Co., Inc.

  (“Plaintiff”) sues defendant Shadowbrook Farm LLC (“Defendant”), and alleges as follows:

                                            THE PARTIES

         1.      Plaintiff is a corporation organized and existing under the laws of the State of

  Florida with its principal place of business located in Palm Beach County, Florida.

         2.      Defendant is a limited liability company organized and existing under the laws of

  the State of New York with its principal place of business located at 2479 County Route 5, New

  Lebanon, NY 12125. Defendant’s address for service of process is: 2525 County Route 5, New

  Lebanon, NY 12125.

                                  JURISDICTION AND VENUE

         3.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

  1331 and 1338(a).

         4.      This Court has personal jurisdiction over Defendant pursuant to Fla. Stat. §§



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  48.193(1)(a)(2) because it committed a tortious act within this state, and the exercise of personal

  jurisdiction over it would not offend traditional notices of fair play and substantial justice.

  “Copyright infringement is a tortious act, and the Florida long-arm statute confers jurisdiction if

  the effects of the infringement were felt in the state. Here, it is undisputed that Plaintiff is a resident

  of Florida, and as such the effects of any alleged copyright infringement would be felt in Florida.”

  Vallejo v. Narcos Prods., LLC, No. 1:18-cv-23462-KMM, 2019 U.S. Dist. LEXIS 198109, at *5

  (S.D. Fla. June 14, 2019) (citing Roberts v. Gordy, No. 13-24700-CIV, 2015 U.S. Dist. LEXIS

  180644, 2015 WL 11202580, at *2 (S.D. Fla. Apr. 14, 2015)). Roof & Rack Prods., Inc. v. GYB

  Inv'rs, LLC, No. 13-80575-CV, 2014 U.S. Dist. LEXIS 92334, at *2 (S.D. Fla. July 8, 2014)

  (“Copyright infringement is a tortious act, and a person who infringes upon a copyright whose

  owner resides in Florida causes injury inside the state.”); Venus Fashion, Inc. v. Changchun

  Chengji Tech. Co., No. 16-61752-CIV-DIMITROULEAS/S, 2016 U.S. Dist. LEXIS 194263, at

  *6-7 (S.D. Fla. Nov. 2, 2016) (“In cases involving online intellectual property infringement, the

  posting of an infringing item on a website may cause injury and occur in Florida by virtue of the

  website's accessibility in Florida, regardless of where the offensive material was posted.”)

  (collecting cases).

          5.      Venue properly lies in this district pursuant to 28 U.S.C. § 1400(a) because

  Defendant or its agents reside or may be found in this district. “A defendant ‘may be found’ in a

  district in which he could be served with process; that is, in a district which may assert personal

  jurisdiction over the defendant.” Palmer v. Braun, 376 F.3d 1254, 1259-60 (11th Cir. 2004). “In

  other words, ‘if a court has personal jurisdiction over the defendants in a copyright infringement

  action, venue in that court’s district is proper.’” McGregor v. In Tune Music Grp., No. 15-62044-

  CIV-ZLOCH, 2016 U.S. Dist. LEXIS 190302, at *11 (S.D. Fla. July 29, 2016) (quoting Store

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  Decor Div. of Jas Int'l, Inc. v. Stylex Worldwide Indus., Ltd., 767 F. Supp. 181, 185 (N.D. Ill.

  1991).

                                                   FACTS

  I.       Plaintiff’s Business

           6.      Plaintiff is in the business of licensing high-end, professional photographs for the

  food industry.

           7.      Through its commercial website (www.preparedfoodphotos.com), Plaintiff offers

  a monthly subscription service which provides access to/license of tens of thousands of

  professional images.

           8.      As of the date of this pleading, Plaintiff charges its clients (generally, grocery

  stores, restaurant chains, food service companies, etc.) a monthly fee of $999.00 for access to its

  library of professional photographs.

           9.      Plaintiff does not license individual photographs or otherwise make individual

  photographs available for purchase. Plaintiff’s business model relies on its recurring monthly

  subscription service such that Plaintiff can continue to maintain its impressive portfolio.

           10.     Plaintiff owns each of the photographs available for license on its website and

  serves as the licensing agent with respect to licensing such photographs for limited use by

  Plaintiff’s customers. To that end, Plaintiff’s standard terms include a limited, non-transferable

  license for use of any photograph by the customer only. Plaintiff’s license terms make clear that

  all copyright ownership remains with Plaintiff and that its customers are not permitted to transfer,

  assign, or sub-license any of Plaintiff’s photographs to another person/entity.

  II.      The Work at Issue in this Lawsuit

           11.     In   2001,     a   professional     photographer       created     a   photograph   titled


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  “ChuckSteakRawFSHC1403.jpg” (the “Work”). A copy of the Work is exhibited below.




            12.   The Work was registered by Plaintiff (pursuant to a work-for-hire agreement with

  the author that transferred all rights and title in the photograph to Plaintiff) with the Register of

  Copyrights on June 9, 2017 and was assigned Registration No. VA 2-055-131. A true and correct

  copy of the Certification of Registration pertaining to the Work is attached hereto as Exhibit “A.”

            13.   Plaintiff is the owner of the Work and has remained the owner at all times material

  hereto.

  III.      Defendant’s Unlawful Activities

            14.   Defendant     owns      and     operates      a     farm      and      online   store   (at

  https://www.shadowbrookfarmllc.com/) that sells various pasture-raised meats/other products to

  customers throughout the United States.

            15.   Defendant advertises/markest its business primarily through its aforementioned

  website, social media (e.g. https://www.facebook.com/shadowbrookfarm/), and other forms of

  advertising.

            16.   On a date after Plaintiff’s above-referenced copyright registration of the Work,

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  Defendant published the Work on its https://www.shadowbrookfarmllc.com/shop website in

  connection with the sale of “Chuck Steak”:




  A true and correct copy of screenshots of Defendant’s website, displaying the copyrighted Work,

  is attached hereto as Exhibit “B.”

         17.        The foregoing display of the Work on Defendant’s website was accessible and was

  in fact accessed from persons in the State of Florida.

         18.        Defendant is not and has never been licensed to use or display the Work. Defendant

  never contacted Plaintiff to seek permission to use the Work in connection with its

  website/advertising or for any other purpose – even though the Work that was copied is clearly

  professional stock photography that would put Defendant on notice that the Work was not intended

  for public use.

         19.        Defendant utilized the Work for commercial use – namely, in connection with the

  marketing of Defendant’s business and sale of beef product.
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           20.   Upon information and belief, Defendant located a copy of the Work on the internet

  and, rather than contact Plaintiff to secure a license, simply copied the Work for its own

  commercial use.

           21.   Through its ongoing diligent efforts to identify unauthorized use of its photographs,

  Plaintiff first discovered Defendant’s unauthorized use/display of the Work in approximately May

  2019. Following Plaintiff’s discovery, Plaintiff notified Defendant in writing of such unauthorized

  use. To date, however, Defendant has not responded to Plaintiff, thus necessitating the filing of

  this lawsuit to protect Plaintiff’s rights with respect to the Work.

           22.   All conditions precedent to this action have been performed or have been waived.

                           COUNT I – COPYRIGHT INFRINGEMENT

           23.   Plaintiff re-alleges and incorporates paragraphs 1 through 22 as set forth above.

           24.   The Work is an original work of authorship, embodying copyrightable subject

  matter, that is subject to the full protection of the United States copyright laws (17 U.S.C. § 101 et

  seq.).

           25.   Plaintiff owns a valid copyright in the Work, having registered the Work with the

  Register of Copyrights and owning sufficient rights, title, and interest to such copyright to afford

  Plaintiff standing to bring this lawsuit and assert the claim(s) herein.

           26.   As a result of Plaintiff’s reproduction, distribution, and public display of the Work,

  Defendant had access to the Work prior to its own reproduction, distribution, and public display

  of the Work on its commercial website.

           27.   Defendant reproduced, distributed, and publicly displayed the Work without

  authorization from Plaintiff.

           28.   By its actions, Defendant infringed and violated Plaintiff’s exclusive rights in

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  violation of the Copyright Act, 17 U.S.C. § 501, by reproducing, distributing, and publicly

  displaying the Work for its own commercial purposes.

         29.      Defendant’s infringement was willful as it acted with actual knowledge or reckless

  disregard for whether its conduct infringed upon Plaintiff’s copyright. Defendant was established

  in 1953 and includes a multitude of professional, stock photography on its website to promote its

  meat products. Defendant clearly understands that high-end food photography is not generally

  available for free or that such can simply be copied from the internet.

         30.      Plaintiff has been damaged as a direct and proximate result of Defendant’s

  infringement.

         31.      Plaintiff is entitled to recover its actual damages resulting from Defendant’s

  unauthorized use of the Work and, at Plaintiff’s election (pursuant to 17 U.S.C. § 504(b), Plaintiff

  is entitled to recover damages based on a disgorgement of Defendant’s profits from infringement

  of the Work, which amounts shall be proven at trial.

         32.      Alternatively, and at Plaintiff’s election, Plaintiff is entitled to statutory damages

  pursuant to 17 U.S.C. § 504(c), in such amount as deemed proper by the Court.

         33.      Pursuant to 17 U.S.C. § 505, Plaintiff is further entitled to recover its costs and

  attorneys’ fees as a result of Defendant’s conduct.

         34.      Defendant’s conduct has caused and any continued infringing conduct will continue

  to cause irreparable injury to Plaintiff unless enjoined by the Court. Plaintiff has no adequate

  remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a permanent injunction

  prohibiting infringement of Plaintiff’s exclusive rights under copyright law.

         WHEREFORE, Plaintiff demands judgment against Defendant as follows:

     a. A declaration that Defendant has infringed Plaintiff’s copyrights in the Work;

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     b. A declaration that such infringement is willful;

     c. An award of actual damages and disgorgement of profits as the Court deems proper or, at

         Plaintiff’s election, an award of statutory damages for willful infringement up to

         $150,000.00 for each infringement of the Work;

     d. Awarding Plaintiff its costs and reasonable attorneys’ fees pursuant to 17 U.S.C. § 505;

     e. Awarding Plaintiff interest, including prejudgment interest, on the foregoing amounts;

     f. Permanently enjoining Defendant, its employees, agents, officers, directors, attorneys,

         successors, affiliates, subsidiaries and assigns, and all those in active concert and

         participation with Defendant, from directly or indirectly infringing Plaintiff’s copyrights

         or continuing to display, transfer, advertise, reproduce, or otherwise market any works

         derived or copied from the Work or to participate or assist in any such activity; and

     g. For such other relief as the Court deems just and proper.

                                         Demand For Jury Trial

  Plaintiff demands a trial by jury on all issued so triable.

  Dated: October 22, 2021.


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